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                                     UNITED STATES BANKRUPTCY COURT
                                      WESTERN DISTRICT OF KENTUCKY




In Re: TORU PAUL MAY                                                        Case No: 18-33923



      Debtor(s)



                                             NOTICE OF WITHDRAWAL


  Comes the Trustee, William W. Lawrence and notes that the document number 23 is hereby withdrawn.




                                                                      /s/ William W. Lawrence
                                                                      WILLIAM W. LAWRENCE, TRUSTEE
                                                                      310 Republic Plaza
                                                                      200 S. 7th Street
                                                                      Louisville, KY 40202
                                                                      (502)581-9042
